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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action.

  RICHARD BEZJAK,

                  Plaintiff,

         Vs.

  ADAMS COUNTY SHERIFF’S DEPUTY JAI ROGERS, in his individually and official
  capacity, and ADAMS COUNTY SHERIFF’S OFFICE, Individually and Severally,

                  Defendants.


                                   PLAINTIFF’S COMPLAINT


         COMES NOW Plaintiff, by and through the undersigned counsel, and for his Complaint

  in this matter, shows the Court the following:

                                 JURISDICTION AND VENUE

         1.       This action arises under the United States Constitution and Federal law under 28

  U.S.C. §§ 1331, 1337, 1343(a), and 1367(a); 42 U.S.C. §§ 1983, 1985, 1986, and 1988; and 18

  U.S.C. §§ 1961-1968. This court has jurisdiction:

               a. Over Plaintiff’s claims relating arising under the United States Constitution and

                  federal law pursuant to Title 42 U.S.C. § 1983;

               b. Over Plaintiff’s prayer for preliminary and permanent injunctive relief and

                  damages under F.R.C.P. 65(a);

               c. To award attorney’s fees pursuant to Title 42 U.S.C. § 1988; and




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          2.     Venue is proper in the United States District Court for the District of Colorado

  because this claim arose within this District. Each and all of acts alleged herein against

  Defendant Jai Rogers were done by the Defendants under the color and pretense of state law,

  statutes, ordinances, regulations, and customs.

                                        PARTIES

          3.     Plaintiff, Richard Bezjak (“Plaintiff”) is a natural person residing at 12756 Fairfax

  Street, Thornton, Colorado 80241; and was a resident of Colorado during all relevant times of

  this action.

          3.     Defendant Jai Rogers (“Defendant Rogers”) was a duly-appointed sheriff’s

  deputy with the Adams County Sheriff’s Department who at all times relevant to this Complaint

  was acting in his official capacity within the course and scope of his employment and acting

  under color of state and municipal law.

          5.     Defendant Adams County is a County under the Colorado Constitution, Article

  XIV. It is responsible for the policies, procedures, and practices implemented through its various

  agencies, agents, departments, and employees, and for injury occasioned thereby. It was also the

  public employer of Defendant Rogers at all times relevant to this Complaint.

          6.     Defendant Adams County Sheriff’s Department is the public law enforcement

  agency for Adams County, Colorado. It is responsible for the policies, procedures, and practices

  implemented through its various agencies, agents, departments, and employees, and for injury

  occasioned thereby. It was also the public employer of Defendant Rogers at all times relevant to

  this Complaint.

          7.     Plaintiff sues all public employees in their official and individual capacities.



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         8.      At all times material to this Complaint, the actions of Defendant Rogers toward

  Plaintiff were under color of the statutes, ordinances, customs, and usage of Adams County and

  the Adams County Sheriff’s Department.

                                     STATEMENT OF FACTS

         10.     On or about May 6, 2008 at approximately 5:30 p.m., Plaintiff, a 59 year-old

  male, was driving home from his job in Commerce City, Colorado via highways 6 and 85 when

  the engine of his vehicle, a 1978 Mercury Cougar XR/7, began to overheat. After seeing smoke

  coming from underneath the hood of his car, Plaintiff turned onto the 96th Avenue exit and pulled

  over his car on the shoulder of the road.

         11.     After Plaintiff opened the hood of his car and poured two gallons of water onto

  the engine, there was no more concern over his engine or any potential of a fire danger.

  However, a passerby who asserted that he was a volunteer fire fighter with Adams County asked

  Plaintiff about whether there had been a fire. Plaintiff stated that everything was fine and that no

  fire existed. Nonetheless, the volunteer fire fighter called 911.

         12.     Defendant Rogers thereafter pulled up to Plaintiff and asked if his car had

  previously been on fire; Plaintiff told Defendant Rogers that there was no longer a fire and

  therefore no need for either the assistance of law enforcement or fire fighters. Defendant Rogers

  asked Plaintiff for his name and identification and Plaintiff asserted that he would provide

  identification after he ensured his engine was no longer a problem. Plaintiff had not committed

  any criminal violation.

         13.     Defendant Rogers thereafter grabbed Plaintiff’s shirt and threw him against the

  side of Plaintiff’s car. Plaintiff was then slammed onto the ground before Defendant Rogers



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  forced his knee into Plaintiff’s back and not only shoved Plaintiff’s face onto the ground, but

  rubbed his face into the dirt. Plaintiff, who suffered abrasion and lacerations on his face, was

  placed into handcuffs, picked up painfully by the handcuffs, and slammed into the side of

  Defendant Rogers’s patrol car. Plaintiff was then placed into the back of the patrol car.

          11.     As a result of his violent treatment by Defendant Rogers, Plaintiff sustained

  severe injuries, including, but not limited to, lacerations and abrasions to his forehead, nose, and

  left side of his face; a closed head injury; trauma to the right ribs, including fractures to certain

  ribs; and mental trauma. These acts were intentionally, knowingly, recklessly, willfully,

  wantonly, and maliciously done by Defendant Rogers and represented official custom, practice,

  or policy of Adams County and the Adams County Sheriff’s Department through its deputy

  sheriffs, acting under color of law. Though initially charged with various misdemeanors,

  including assault and obstruction of justice, Plaintiff stands convicted only of a noise violation

  for the incident at issue.

                            FIRST CLAIM FOR RELIEF
    (Monell Claim Against Adams County and the Adams County Sheriff’s Department)

          12.     Plaintiff incorporates by this reference the allegations set forth in all preceding

  paragraphs, as if those allegations were set forth fully herein.

          13.     The deprivation of constitutional rights, as above alleged, occurred as a result of,

  during, or as a consequence of the execution of the policies, customs, or usages Defendants

  Adams County and the Adams County Sheriff’s Department, representing a deliberate or

  conscious choice by the defendant, adopted or maintained in deliberate indifference to the rights

  and interests of its citizens, including deliberate indifference to citizens’ health, and/or safety,

  and which ratify unlawful acts and omissions by its officers.


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         14.     These policies, customs, or usages of Defendants Adams County and the Adams

  County Sheriff’s Department deprived the decedent of his rights, security, and liberties

  guaranteed to him by the Constitution of the United States, made actionable pursuant to 42

  U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658, 98 S. Ct. 2018, 56 E.

  Ed.2d 611 (1978) as elsewhere enumerated in this Complaint.

         15.     The policies, customs and usages of Defendants Adams County and the Adams

  County Sheriff’s Department constituted deliberate indifference and deprived Plaintiff of the

  following rights and freedoms guaranteed by the Constitution of the United States, and made

  actionable pursuant to 42 U.S.C. § 1983:

                 a.       The right to be secure, in his person and house, against unreasonable

         seizure, as guaranteed by the Fourth Amendment;

                 b.      The right not to be deprived of his liberty without due process of law; as

         guaranteed by the Fifth Amendment; and

                 c.      The right not to have cruel and unusual punishment inflicted, as

         guaranteed by the Eighth Amendment; and

                 d.      The right to procedural and substantive due process of law under the

         Fourteenth Amendment.

         16.     As a direct and proximate result of the above deliberate indifference and

  violations of constitutional rights, Plaintiff has suffered actual physical and emotional injuries in

  an amount to be proven at trial.

         17.     WHEREFORE, Plaintiff demands judgment against all the Defendants jointly and

  severally, for actual, general, special, and compensatory damages in the amount of sufficient to



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  compensate for losses described in this Complaint, and further demands judgment against each

  of said Defendants, jointly and severally, for punitive damages, plus the costs of this action,

  including attorney fees, both pre-judgment and postjudgment interest, and such other relief

  deemed to be just and equitable.

                                  SECOND CLAIM FOR RELIEF
                      (Against all Defendants , Pursuant to 42 U.S.C. § 1983)

         18.     Plaintiff incorporates by this reference the allegations set forth in all preceding

  paragraphs, as if those allegations were set forth fully herein.

         19.     Defendant Rogers used excessive force which resulted in injuries to Plaintiff.

         20.     The acts and omissions of the officers constituted deliberate indifference and

  deprived decedent of the following rights and freedoms guaranteed by the Constitution of the

  United States, and made actionable pursuant to 42 U.S.C. § 1983:

                 a.      The right to be secure in his person, and house against unreasonable

         seizure, as guaranteed by the Fourth Amendment;

                 b.      The right not to be deprived of his liberty without due process of law, as

         guaranteed by the Fifth Amendment, and

                 c.      The right not to have cruel and unusual punishment inflicted, including

         death, as guaranteed by the Eighth Amendment; and

                 d.      The right to procedural and substantive due process of law under the

         Fourteenth Amendment.

         21.     As a direct and proximate result of the above deliberate indifference and

  violations of constitutional rights, together with the objectively unreasonable use of force,




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  Plaintiff has suffered damages and injuries, including mental distress, impairment of his quality

  of life, and loss of income, in an amount to be proven at trial.

          22.     As a result of the above and foregoing, plaintiff seeks an award of compensatory,

  and special damages, attorney’s fees pursuant to 42 U.S.C. § 1988, costs, expert witness fees,

  and legal interest from the date of the officer’s actions and omissions.

          23.     WHEREFORE, Plaintiff demands judgment against all the Defendants jointly and

  severally, for actual, general, special, and compensatory damages in the amount of sufficient to

  compensate for losses described in this Complaint, and further demands judgment against each

  of said Defendants, jointly and severally, for punitive damages, plus the costs of this action,

  including attorney fees, both pre-judgment and postjudgment interest, and such other relief

  deemed to be just and equitable.

                                 THIRD CLAIM FOR RELIEF
   (Against all Defendant, Violations of 42 U.S.C. § 1983: Excessive Force During Search and
                                             Seizure)

          24.     Plaintiff incorporates by this reference the allegations set forth in all preceding

  paragraphs, as if those allegations were set forth fully herein.

          25.     The Fourth Amendment of the United States Constitution protects individuals

  against unreasonable searches and seizures.

          26.     Defendants seized the decedent for Fourth Amendment purposes when they

  tackled Plaintiff to the ground and began assaulting him. During this seizure, unreasonable force

  which violated clearly established law of which a reasonable person would have known was used

  against Plaintiff.




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         27.     WHEREFORE, Plaintiff demands judgment for the unreasonable force applied

  against him when being seized and searched against Defendants jointly and severally, for actual,

  general, special, and compensatory damages in the amount of sufficient to compensate for losses

  described in this Complaint, and further demands judgment against each of said Defendants,

  jointly and severally, for punitive damages, plus the costs of this action, including attorney's fees,

  both pre-judgment and postjudgment interest, and such other relief deemed to be just and

  equitable.

                              FOURTH CLAIM FOR RELIEF
         (Against all Defendants, Violations of 42 U.S.C. § 1983: Detention and Confinement)

         28.     Plaintiff incorporates by this reference the allegations set forth in all proceeding

  paragraphs, as if those allegations were set forth fully herein.

         29.     As a result of their concerted unlawful and malicious detention and confinement

  of Plaintiff, Defendants deprived Plaintiff of both his right to liberty without due process of law

  and his right to equal protection of the laws, and the due course of justice was impeded, in

  violation of the Fifth and Fourteenth Amendments of the Constitution of the United States and

  42 U.S.C. §1983.

         30.     WHEREFORE, Plaintiff demands judgment for the Plaintiff’s illegal detention

  and confinement for actual, general, special, and compensatory damages in the amount of

  sufficient to compensate for losses described in this Complaint, and further demands judgment

  against each of said Defendants, jointly and severally, for punitive damages, plus the costs of this

  action, including attorney's fees, both prejudgment and post judgment interest, and such other

  relief deemed to be just and equitable.




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                               FIFTH CLAIM FOR RELIEF
           (Against Adams County and Adams County Sheriff’s Department, Constitutional
                       Violation of Failure to Properly Train and Supervise)

          31.     Plaintiff incorporates by this reference the allegations set forth in all preceding

  paragraphs, as if those allegations were set forth fully herein.

          32.     The Adams County Sheriff, in that capacity, establishes policies, procedures,

  customs, and/or practices for sheriff’s deputies.

          33.     The John Doe deputies, under the oversight of the Sheriff, are responsible for the

  training and supervision of sheriff’s deputies, including but not limited to Defendant Rogers

          34.     The policies, procedures, customs and/or practices established by the Sheriff and

  imparted by the John Doe supervisors are implemented by the Adams County Sheriff’s

  Department.

          35.     The Adams County Sheriff and Adams County developed and maintained

  policies, procedures, customs, and practices exhibiting a deliberate indifference to the

  constitutional rights of persons in Adams County, which caused the violation of the Plaintiff’s

  constitutional rights, as set forth above.

          36.     The John Doe supervising officers failed to adequately train and supervise

  deputies in Adams County with respect to the use of force, which failure caused the violation of

  Plaintiff’s constitutional rights as set forth above.

          37.     Defendants Adams County and Adams County Sheriff’s Department were aware

  of the lack of training given to Adams County deputies in detailing with members of the public,

  to be free from constitutional violations committed as described in this Complaint.




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          38.      If any training was given to police officers regarding civil rights of members of

   the public to be free from constitutional violations, Defendants knew that such training was

   reckless or grossly negligent and that further misconduct in that area was almost inevitable.

          39.      The infliction of injuries and deprivation of constitutional rights to the Plaintiff

   occurred as a result of or as a consequence of the execution of the policies, procedures, customs,

   or usages of Defendant, policies representing a deliberate or conscious choice by Defendant,

   adopted or maintained in deliberate indifference to the rights and interests of its citizens, and

   which ratify unlawful acts by its officers, including but not limited to the following policies,

   customs or usages concerning the use of excessive force:

                a. A policy of providing inadequate training in the use of excessive force through

                   the failure to require constitutionally adequate training;

                b. A policy of non-prosecution and a tacit authorization of the use of excessive force

                   by its officers involved in incidents of excessive force leading to great bodily

                   injury or death;

                c. A policy, custom or usage of failure to discipline, sanction, or discharge officers

                   involved in unjustified police brutality, including the failure to terminate or even

                   sanction or reprimand police officers resulting in the practical and legal effect of

                   ratification by Defendant, endorsing the irresponsible use of force as part of a tacit

                   City policy of condoning such irresponsibility;

                d. A policy of condoning and permitting the exercise of excessive force by police

                   officers, regardless of the circumstances;

                e. A “cover-up” policy following police beatings and killings; and



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                 f. A failure to follow up and discipline officers who have been found responsible in

                    excessive force situations.

           40.      Defendant had a statutorily imposed duty to protect the constitutional rights of the

   members of the public, including the decedent, from violations of those rights by members of the

   Adams County Sheriff’s Department. By failing to properly train such deputies, including

   Defendants Rogers and any other John Doe Defendants, these Defendants violated the Plaintiff’s

   constitutional rights.

           41.      The direct result of Defendant’s failure to train was the violation of Plaintiff’s

   rights, as previously described herein, resulting in Plaintiff’s pain and suffering.

           42.      WHEREFORE, Plaintiff demands judgment for the failure to train and supervise

   against Adams County and the Adams County Sheriff’s Department for actual, general, special,

   and compensatory damages in the amount of sufficient to compensate for losses described in this

   Complaint, and further demands judgment against each of said Defendants, jointly and severally,

   for punitive damages, plus the costs of this action, including attorney's fees, both prejudgment

   and post judgment interest, and such other relief deemed to be just and equitable.

                                 SIXTH CLAIM FOR RELIEF
   (Against all Defendants, Violations of 42 U.S.C. § 1983: Refusing or Neglecting to Prevent)

           43.      Plaintiff incorporates by this reference the allegations set forth in all preceding

   paragraphs, as if those allegations were set forth fully herein.

           44.      At all times relevant to this Complaint, Defendant Rogers, as a deputy with the

   Adams County Sheriff’s Department, was acting, respectively, under the direction and control of

   Adams County and Adams County Sheriff’s Department.




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           45.      Acting under color of law and pursuant to official policy or custom, Defendant

   Adams County and Adams County Sheriff’s Department knowingly, recklessly, or with gross

   negligence failed to instruct, supervise, control, and discipline on a continuing basis Defendant

   police officers in their duties to refrain from:

                 a. unlawfully and maliciously harassing a citizen who was acting in accordance with

                    his constitutional and statutory rights, privileges, and immunities;

                 b. unlawfully and maliciously arresting a citizen who was acting in accordance with

                    his constitutional and statutory rights, privileges, and immunities;

                 c. conspiring to violate the rights, privileges, and immunities guaranteed to Plaintiff

                    by the Constitution and laws of the United States and the laws of the State of

                    Colorado; and

                 d. otherwise depriving Plaintiff of his constitutional and statutory rights, privileges,

                    and immunities.

           46.      Defendants had knowledge or, had they diligently exercised that duties to instruct,

   supervise, control, and discipline on a continuing basis, should have had knowledge that the

   wrongs conspired to be done, as heretofore alleged, were about to be committed. Defendants

   Rogers, Adams County, and Adams County Sheriff’s Department had power to prevent or aid in

   preventing the commission of said wrongs, could have done so by reasonable diligence, and

   knowingly, recklessly, or with gross negligence failed or refused to do so.

           47.      Defendants directly or indirectly, under color of law, approved or ratified the

   unlawful, deliberate, malicious, reckless, and wanton conduct of Defendant Rogers heretofore

   described.



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          48.     As a direct and proximate cause of the negligent and intentional acts of

   Defendants as set forth in paragraphs above, Plaintiff suffered physical and mental injuries in

   connection with the deprivation of his constitutional and statutory rights guaranteed by the Fifth

   and Fourteenth Amendments of the Constitution of the United States and protected by 42 U.S.C.

   § 1983.

          49.     WHEREFORE, Plaintiff demands judgment against all the Defendants jointly and

   severally, for actual, general, special, and compensatory damages in the amount of sufficient to

   compensate for losses described in this Complaint, and further demands judgment against each

   of said Defendants, jointly and severally, for punitive damages, plus the costs of this action,

   including attorney fees, both pre-judgment and postjudgment interest, and such other relief

   deemed to be just and equitable.

                                  PRAYER FOR RELIEF

          Wherefore, Plaintiff prays for relief as follows:

          1)         Award compensatory and punitive damages in an amount to be determined at

                     trial, but not less than $1,000,000.00;

          2)         Interest, both pre-judgment and post-judgment, as allowed by law;

          3)         Award attorney fees and costs pursuant to 18 U.S.C. § 1988; and

          4)         Grant such other relief as the interests of justice require.




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   PLAINTIFF DEMANDS TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.



         Dated this 26th day of August, 2009.

                               Respectfully submitted,


                                                DOUGLAS L. ROMERO, ESQ.

                                                By: /s/ Douglas L. Romero
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                                                Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

           I certify that on this 26th day of August, 2009, I electronically filed the foregoing
   PLAINTIFF’S COMPLAINT with the Clerk of the Court using the CM/ECF system, which
   will send notification of such filing to the following e-mail addresses:

   Adams County Administration Building
   Attn: Adams County Commissioner’s Office
   450 S. 4th Avenue
   Brighton, CO 80601

   Hal Warren, Adams County Attorney
   Adams County Attorney’s Office
   450 S. 4th Avenue
   Brighton, CO 80601

   Colorado Attorney General’s Office
   1525 Sherman Street, 7th Floor
   Denver, CO 80203

   Adams County Sheriff’s Department
   332 N. 19th Avenue
   Brighton, CO 80601

   Deputy Sheriff Jai Rogers
   Adams County Sheriff’s Department
   332 N. 19th Avenue
   Brighton, CO 80601




   /S/ Corin Arreola
   Corin Arreola




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